                         UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF LOUISIANA
MCARTHUR GRIFFIN                           §
                                           §
Plaintiff                                  §CIVIL ACTION NO.: 3:20-92-BAJ-EWD
                                           §
Versus                                     §
                                           §
REC MARINE LOGISTICS LLC, ET AL.           §   TRIAL BY JURY DEMANDED
                                           §
Defendants                                 §


                       REC,et.al.WITNESSES AND DOCUMENTS

     Now     come   Defendants,   REC   Marine   Logistics,   LLC,   and   Offshore

Transport Services, LLC with its, their, initial FRCP Rule 26b Witness

and Document lists, as follows:


                                  Witness Listing


1.

Dr. Brett Casey

Gulf Coast Orthopeadics

1001 School Street

Houma, La. 70360

2.

Donald Fitgzerald, P.T.

Opelousas Physical Therapy

2218 Geome Dr.

Opelousas, La. 70570

3.

Captain Michael Haglund

8926 Rizutto Rd.

Panama City, FL 32404

4.
                                                                              EXHIBIT
                                                                                        exhibitsticker.com




                                                                                  1
Captain Joshua Winhauer

14510 Saint Michael Street E.

Coden, AL 36523

5.

Casey Curole

Port Captain

4535 Hwy 308, P.O. Box 309

Raceland, La. 70394

6.

Deckhand William Badeaux

1115B Saltmine Hwy.

Breaux Bridge, LA 70517

7.

Brian Harris, Claims Mgr.

REC Marine Logistics, LLC

4535 Hwy 308, P.O. Box 309

Raceland, La. 70394

8.

Any witness listed or called by any party.

                             Document Listing


1.


Logs of M/V Dustin Danos 4/21/-5/13/2018;


2.


Medical records Dr. Casey;


3.
Therapy records of Donald Fitzgerald;


4.


Records showing amounts and times of M&C payments to Griffin;


5.


Records of REC showing wages or emoluments to Griffin during his

employment.


6.


Any documents or exhibits offered by any other party.


                                Submitted by:

                                /s/ Fred E. Salley
                                __________________________________
                                FRED E. SALLEY, T.A. (11665)
                                SALLEY & ASSOCIATES
                                P.O. Box 3549
                                77378 Hwy 1081 Cretien Annex
                                Covington, Louisiana 70434
                                Telephone: (985) 867-8830
                                Facsimile (985) 867-8927
                                Counsel for Defendants,REC et. al.
